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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MAINE

                                                   )
TANISHA SOLOMON individually and
                                                   )
O/B/O DS, SS, KQ and KS
                                                   )
                                                   )
                   Plaintiffs                      )
                                                   )
v.                                                 )
                                                       Civil Action No. 2:16-cv-00419-JAW
                                                   )
                                                   )
THOMAS MURPHY, MIKE BUSSIERE,
                                                   )
CITY OF LEWISTON AND UNKNOWN
                                                   )
OFFICERS
                                                   )
                                                   )
                  Defendants                       )


               DEFENDANTS’ ANSWER TO PLAINTIFFS’ COMPLAINT
                         AND JURY TRIAL DEMAND

       NOW COME Defendants Thomas Murphy, Michael Bussiere and the City of Lewiston

(“Defendants”), by and through undersigned counsel, and answer Plaintiffs’ Complaint as

follows:

                                                 Parties

       1. Defendants are without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 1 of the Complaint and, therefore, deny the same.

       2. Defendants deny that the incident included any civil rights violations and are without

knowledge or information sufficient to for a belief as to the remaining allegations contained in

paragraph 2 of the Complaint and, therefore, deny the same.

       3. Defendants deny that the incident included any civil rights violations and are without

knowledge or information sufficient to for a belief as to the remaining allegations contained in

paragraph 3 of the Complaint and, therefore, deny the same.
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       4. Defendants deny that the incident included any civil rights violations and are without

knowledge or information sufficient to for a belief as to the remaining allegations contained in

paragraph 4 of the Complaint and, therefore, deny the same.

       5. Defendants deny that the incident included any civil rights violations and are without

knowledge or information sufficient to for a belief as to the remaining allegations contained in

paragraph 5 of the Complaint and, therefore, deny the same.

       6. Defendants admit the allegations contained in paragraph 6 of the Complaint.

       7. Defendants admit the allegations contained in paragraph 7 of the Complaint.

       8. Defendants admit the allegations contained in paragraph 8 of the Complaint.

       9. Defendants admit the allegations contained in paragraph 9 of the Complaint.

                                      Subject Matter Jurisdiction

       10.     The allegations contained in paragraph 10 of the Complaint state a legal

conclusion to which an answer is not required. To the extent an answer is deemed necessary,

Defendants deny the allegations contained in paragraph 10 of the Complaint.

       11.     The allegations contained in paragraph 11 of the Complaint state a legal

conclusion to which an answer is not required. To the extent an answer is deemed necessary,

Defendants deny the allegations contained in paragraph 11 of the Complaint.

       12.     The allegations contained in paragraph 12 of the Complaint state a legal

conclusion to which an answer is not required. To the extent an answer is deemed necessary,

Defendants deny the allegations contained in paragraph 12 of the Complaint.




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                                         Personal Jurisdiction

        13.    The allegations contained in paragraph 13 of the Complaint state a legal

conclusion to which an answer is not required. To the extent an answer is deemed necessary,

Defendants deny the allegations.

                                                 Venue

        14.    The allegations contained in paragraph 14 of the Complaint state a legal

conclusion to which an answer is not required. To the extent an answer is deemed necessary,

Defendants deny the allegations.

                                   Common Nucleus of Operative Fact

        15.    Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in paragraph 15 of the Complaint and, therefore, deny the

same.

        16.    Defendants admit the allegations contained in paragraph 16 of the Complaint.

        17.    Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in paragraph 17 of the Complaint and, therefore, deny the

same.

        18.    Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in paragraph 18 of the Complaint and, therefore, deny the

same.

        19.    Defendants deny the allegations contained in paragraph 19 of the Complaint.

        20.    Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in paragraph 20 of the Complaint and, therefore, deny the

same.


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        21.    Defendants deny the allegations contained in paragraph 21 of the Complaint.

        22.    Defendants deny the allegations contained in paragraph 22 of the Complaint.

        23.    Defendants deny the allegations contained in paragraph 23 of the Complaint.

        24.    Defendants deny the allegations contained in paragraph 24 of the Complaint.

        25.    Defendants admit the allegations contained in paragraph 25 of the Complaint.

        26.    Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in paragraph 26 of the Complaint and, therefore, deny the

same.

        27.    Defendants deny the allegations contained in paragraph 27 of the Complaint.

        28.    Defendants deny the allegations contained in paragraph 28 of the Complaint.

        29.    Defendants admit the allegations contained in paragraph 29 of the Complaint.

        30.    Defendants deny the allegations contained in paragraph 30 of the Complaint.

        31.    Defendants deny the allegations contained in paragraph 31 of the Complaint.

        32.    Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in paragraph 32 of the Complaint and, therefore, deny the

same.

        33.    Defendants deny the allegations contained in paragraph 33 of the Complaint.

        34.    Defendants deny the allegations contained in paragraph 34 of the Complaint.

        35.    Defendants deny the allegations contained in paragraph 35 of the Complaint.

        36.    Defendants deny the allegations contained in paragraph 36 of the Complaint.

        37.    Defendants deny the allegations contained in paragraph 37 of the Complaint.

        38.    Defendants admit that Defendant Murphy questioned Ms. Solomon about both her

and her son’s involvement in the commission of a crime.


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       39.      Defendants admit the allegations contained in paragraph 39 of the Complaint.

       40.      Defendants deny the allegations contained in paragraph 40 of the Complaint.

       41.      Defendants deny the allegations contained in paragraph 41 of the Complaint.

       42.      Defendants deny the allegations contained in paragraph 42 of the Complaint.

       43.      Defendants admit the allegations contained in paragraph 43 of the Complaint.

       44.      Defendants admit the allegations contained in paragraph 44 of the Complaint.

       45.      Defendants deny the allegations contained in paragraph 45 of the Complaint.

       46.      Defendants admit the allegations contained in paragraph 46 of the Complaint.

       47.      Defendants deny the allegations contained in paragraph 47 of the Complaint.

       48.      Defendants deny the allegations contained in paragraph 48 of the Complaint.

       49.      Defendants deny the allegations contained in paragraph 49 of the Complaint.

       50.      No response is required to the allegations contained in paragraph 50 of the

Complaint.

             Count I: 42 U.S.C. §1983 Violation v. Officer Defendant Thomas Murphy and

                                  Defendant Unknown Officers

       51.      Defendants repeat and reallege their answers to the allegations contained in

Paragraphs 1-50 above as if fully set forth herein.

       52.      Defendants deny the allegations contained in paragraph 52 of the Complaint.

       53.      Defendants deny the allegations contained in paragraph 53 of the Complaint.

       WHEREFORE, Defendants respectfully request that Plaintiffs’ Complaint be dismissed

and for their costs and for such other relief the Court deems just and appropriate.

             Count II: 42 U.S.C. §1983 Supervisory Violation v. Defendant Bussiere




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       54.     Defendants repeat and reallege their answers to the allegations contained in

Paragraphs 1-53 above as if fully set forth herein.

       55.     Defendants deny the allegations contained in paragraph 55 of the Complaint.

       56.     Defendants deny the allegations contained in paragraph 56 of the Complaint.

       57.     Defendants deny the allegations contained in paragraph 57 of the Complaint.

       58.     Defendants deny the allegations contained in paragraph 58 of the Complaint.

       59.     Defendants deny the allegations contained in paragraph 59 of the Complaint.

       60.     Defendants deny the allegations contained in paragraph 60 of the Complaint.

       61.     Defendants deny the allegations contained in paragraph 61 of the Complaint.

       62.     Defendants deny the allegations contained in paragraph 62 of the Complaint.

       63.     Defendants deny the allegations contained in paragraph 63 of the Complaint.

       64.     Defendants deny the allegations contained in paragraph 64 of the Complaint.

       65.     Defendants deny the allegations contained in paragraph 65 of the Complaint.

       66.     Defendants deny the allegations contained in paragraph 66 of the Complaint.

       WHEREFORE, Defendants respectfully request that Plaintiffs’ Complaint be dismissed

and for their costs and for such other relief the Court deems just and appropriate.

             Count III: 42 U.S.C. §1983 Municipal Violation v. City of Lewiston

       67.     Defendants repeat and reallege their answers to the allegations contained in

Paragraphs 1-66 above as if fully set forth herein.

       68.     Defendants deny the allegations contained in paragraph 68 of the Complaint.

       69.     Defendants admit the allegations contained in paragraph 69 of the Complaint.




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       70.     The allegations contained in paragraph 70 of the Complaint states a legal

conclusion to which an answer is not required. To the extent an answer is deemed necessary,

Defendants deny the allegations.

       71.     Defendants deny the allegations contained in paragraph 71 of the Complaint.

       72.     Defendants deny the allegations contained in paragraph 72 of the Complaint.

       73.     Defendants deny the allegations contained in paragraph 73 of the Complaint.

       74.     Defendants deny the allegations contained in paragraph 74 of the Complaint.

       75.     Defendants deny the allegations contained in paragraph 75 of the Complaint.

       WHEREFORE, Defendants respectfully request that Plaintiffs’ Complaint be dismissed

and for their costs and for such other relief the Court deems just and appropriate.

                               Count IV: Assault v. Defendant Murphy

       76.     Defendants repeat and reallege their answers to the allegations contained in

Paragraphs 1-75 above as if fully set forth herein.

       77.     Defendants deny the allegations contained in paragraph 77 of the Complaint.

       78.     Defendants deny the allegations contained in paragraph 78 of the Complaint.

       79.     Defendants deny the allegations contained in paragraph 79 of the Complaint.

       WHEREFORE, Defendants respectfully request that Plaintiffs’ Complaint be dismissed

and for their costs and for such other relief the Court deems just and appropriate.

                           Count IV: Assault v. Defendant Murphy

       80.     Defendants repeat and reallege their answers to the allegations contained in

Paragraphs 1-79 above as if fully set forth herein.

       81.     Defendants deny the allegations contained in paragraph 81 of the Complaint.

       82.     Defendants deny the allegations contained in paragraph 82 of the Complaint.


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        83.      Defendants deny the allegations contained in paragraph 83 of the Complaint.

        84.      Defendants deny the allegations contained in paragraph 84 of the Complaint.

                 WHEREFORE, Defendants respectfully request that Plaintiffs’ Complaint be

dismissed and for their costs and for such other relief the Court deems just and appropriate.

                          Count VI: False Imprisonment v. Defendant Officers

        85.      Defendants repeat and reallege their answers to the allegations contained in

Paragraphs 1-84 above as if fully set forth herein.

        86.      Defendants deny the allegations contained in paragraph 86 of the Complaint.

        87.      Defendants deny the allegations contained in paragraph 87 of the Complaint.

        88.      Defendants deny the allegations contained in paragraph 88 of the Complaint.

        89.      Defendants deny the allegations contained in paragraph 89 of the Complaint.

                 WHEREFORE, Defendants respectfully request that Plaintiffs’ Complaint be

dismissed and for their costs and for such other relief the Court deems just and appropriate.

                                           Affirmative Defenses

        1.       Defendants affirmatively defend by stating that Plaintiffs’ Complaint fails to state

a claim upon which relief may be granted.

        2.       Defendants affirmatively defend by stating that Plaintiffs’ Complaint is barred by

the statute of limitations.

        3.       Defendants affirmatively defend by stating that their conduct was privileged.

        4.       Defendants affirmatively defend by stating that Plaintiffs have failed to mitigate

their damages.

        5.       Defendants affirmatively defend by stating that Plaintiffs’ Complaint is barred for

failure to comply with the Maine Tort Claims Act, 14 M.R.S.A. § 8101, et seq.


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       6.      Defendants affirmatively defend by stating that Plaintiffs’ Complaint is barred by

the immunity provisions of the Maine Tort Claims Act, 14 M.R.S.A. § 8101, et seq.

       7.      Defendants affirmatively defend by stating that Plaintiffs’ Complaint is barred by

the doctrine of absolute immunity and/or qualified immunity.

       8.      If any of Defendants’ acts are found to have been unlawful and/or

unconstitutional, Defendants had no knowledge of such illegality or unconstitutionality at the

time of the alleged conduct and at all times were acting in good faith.

       10.     Any action taken by these Defendants was based upon probable cause.

       11.     Defendant municipality has no liability for damages because the conduct of its

employees did not violate clearly established law, therefore any alleged failure to hire, train,

manage, discipline, or supervise could not have been a proximate cause of Plaintiffs’ damages.

       12.     Defendants’ conduct did not rise to the level of a constitutional violation, but, at

most, amounts to a common law tort.

       13.     No clearly established rights of Plaintiffs were violated by Defendants’ actions.

       14.     The amount of force used by these Defendants was objectively reasonable in light

of the facts and circumstances surrounding the incident.

       15.     The amount of force used, if any, by these Defendants was only that amount that

was necessary to take Tanisha Solomon into custody for transport to the police station, including

routine handcuffing.

       16.     Plaintiffs’ claim is barred by the doctrine of estoppel and/or preclusion.

       17.     Defendants affirmatively defend by stating that Plaintiffs’ injuries, if any, were

not caused by any municipal policy or custom.




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        18.        Defendants affirmatively defend by stating that no supervisory liability claim can

lie in the absence of a violation of Plaintiffs’ rights by an officer that is observed by a

supervisory officer who had a reasonable opportunity to intervene and stop such violation but

failed to do so.

                                               JURY DEMAND

        Defendants City of Lewiston, Thomas Murphy and Michael Bussiere hereby demand a

trial by jury pursuant to F.R.Civ.P. 38(b).



Dated at Portland, Maine this 26th day of October, 2016.


                                                        /s/ Edward R. Benjamin, Jr.
                                                        Edward R. Benjamin, Jr.

                                                        /s/ Kasia S. Park
                                                        Kasia S. Park

                                                        Attorneys for Defendants

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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 26, 2016, I electronically filed Defendants’ Answer

and Demand for Jury Trial with the Clerk of the Court using the CM/ECF system. I further

certify the foregoing document was served on Plaintiff’s counsel Michael Waxman through the

CM/ECF system.


                                           /s/ Edward R. Benjamin, Jr.
                                           Edward R. Benjamin, Jr.
                                           Attorney for Defendants

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